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AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                               District of New Mexico

                  UNITED STATES OF AMERICA                                Judgment in a Criminal Case
                             V.                                           (For Revocation of Probation or Supervised Release)

                            Anselm Allen
                                                                          Case Number: 1:06CR01442-001JB
                                                                          USM Number: 32123-051
                                                                          Defense Attorney: Steve McCue, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) Special of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                Violation Ended
Number
1                   Special - The defendant failed to reside at and complete a program at a     07/15/2009
                    community corrections center for a period of up to three months as approved
                    by the probation officer.

The defendant is sentenced as provided in pages 1 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

d    The defendant has not violated condition(s) and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

                                                                          December 4, 2009
Defendant's Soc. Sec. No.                                                 Date of Imposition of Judgment

05/26/1977                                                                /s/ James O. Browning
Defendant's Date of Birth                                                 Signature of Judge


                                                                          Honorable James O. Browning
200 Western Skies #104                                                    United States District Judge

Gallup NM 87301
Defendant's Residence Address                                             Name and Title of Judge


,                                                                         December 4, 2009
Defendant's Mailing Address                                               Date Signed

McKinley
County of Residence
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Sheet 2 Imprisonment                                                                                                  Judgment Page 2 of 3


Defendant: Anselm Allen
Case Number: 1:06CR01442-001JB


                                                                   IMPRISONMENT

The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 4 months.

Although advisory, the Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines
with other sentencing goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable
category of offense committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is
appropriate for this sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court
has considered the kind of sentence and range established by the Guidelines. The Court believes that a sentence of 4 months
reflects the seriousness of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence,
protects the public and effectively provides the Defendant with needed education or vocational training and medical care, and
otherwise fully reflects each of the factors embodied in 18 U.S.C. Section 3553(a). The Court also believes the sentence is reasonable.
The Court believes the sentence is sufficient, but not greater than necessary, to comply with the purposes set forth in the Sentencing
Reform Act.

d      The court makes these recommendations to the Bureau of Prisons:




c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant must surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant must surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Service Office.


                                                                     RETURN

I have executed this judgment by:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.



                                                                        UNITED STATES MARSHAL




                                                                        Deputy United States Marshal
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Sheet 3 Supervised Release                                                                                                             Judgment Page 3 of 3
Defendant: Anselm Allen
Case Number: 1:06CR01442-001JB
                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 months .

All of the special conditions previously imposed remain in effect.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons. The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

d      The above drug testing condition is suspended based on the courts determination that the defendant possesses a low risk of future substance
       abuse. (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine or restitution that
remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply with
the additional conditions on the attached page (if indicated below).

                                                   STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training program throughout the
       term of supervised release as directed by the probation officer;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
       personal history and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such notification
       requirement;
